
COOKS, Judge.
For the foregoing reasons assigned in the companion case of Theriot v. Lasseigne, 624 So.2d 1267 (La.App. 3rd Cir.1993), the lower court’s judgment is reversed to cast liability against DOTD and amended to fix the fault of Travis Courville and DOTD as follows:
IT IS ORDERED, ADJUDGED AND DECREED judgment is rendered in favor of the plaintiffs against the State of Louisiana, through the Department of Transportation and Development, finding it thirty (30) percent at fault in causing the accident;
IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the judgment is amended to reduce the percentage of fault assigned to Travis Courville to thirty (30) percent.
Further, the case is remanded to the trial court for a determination of damages and rendition of judgment consistent with the above apportionment of fault. All costs on appeal are assessed against DOTD.
AFFIRMED IN PART; AMENDED IN PART; REVERSED IN PART; RENDERED; AND REMANDED.
